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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

RICHARD EDELMANN,

                                                Plaintiff,         DECLARATION OF
              v.                                                   PETER J. GLENNON

                                                                  Index No.: 6:16-cv-06293
KEUKA COLLEGE,

                                              Defendant.


        PETER J. GLENNON, Esq., an attorney duly admitted to practice law in this

Court declares the following under penalty of perjury:

            1.        I am an attorney with and the founding principal of The Glennon Law

Firm, P.C, attorneys for Plaintiff Richard Edelmann (“Plaintiff” or “Mr. Edelmann”) in

the above-captioned matter. As such, I am fully familiar with the facts and circumstances

of this litigation.

            2.        I submit this declaration in reply to Defendant’s response to Plaintiff’s

Motion for Summary Judgment and in further support of Plaintiff’s Motion for Partial

Summary Judgment on liability. As explained below and the other documents submitted

in support of this motion, no material issue of fact exists that defendant Keuka College

(“Defendant” or “the College”) misclassified Mr. Edelmann as an exempt employee.

Accordingly, Mr. Edelmann’s Motion for Summary Judgment should be granted.

                      THERE ARE NO OUTSTANDING ISSUES OF FACT

            3.        Throughout its motion response papers, Defendant has attempted to

cloud the waters using selectively chosen deposition testimony, generalized technology

jargon, and a hypothetical list of job duties to attempt to defeat summary judgment. In


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contrast, Mr. Edelmann has submitted detailed and specific information regarding his

actual job duties and work hours, including over 3,000 pieces of documentary evidence

demonstrating his actual duties.

           A. The Deposition Testimony and Declaration Cited by Defendant are
           Misleading

           4.    Defendant cited extensively to the testimony of Timothy Pierson in its

Local Rule 56 Counterstatement of Facts and in its Memorandum of Law. In the cited

testimony, Mr. Pierson described his vision for the Senior Technology Support

Technician (“Support Technician”) role and the job duties that he had expected Senior

Technicians would perform.

           5.    None of this testimony, however, has any direct bearing on Mr.

Edelmann as Mr. Pierson testified that he could not recall Mr. Edelmann. Attached hereto

as Exhibit A is a true and correct excerpt of the deposition testimony of Timothy Pierson

on July 2, 2018 (“Pierson Dep.”) at 63:15-18; 108:7-9; 130:21-23. Mr. Pierson could not

even confirm that Mr. Edelmann participated in the initial round of classroom

Audio/Visual (“AV”) upgrades in 2010-2011, and indeed, Mr. Edelmann has stated that

he was not involved with classroom upgrades at that time. Pierson Dep. at 67:11-25;

68:1-8. And although Mr. Pierson may have envisioned the Senior Technician role as

being skilled and exempt, Mr. Pierson also testified that the number of qualified

applicants for the positions he was filling was “fairly low.” Pierson Dep. at 106:21-23.

           6.    Defendant also claims that Mr. Edelmann was the “architect” of the

College’s Mac environment. But the cited testimony and declaration does not support this

proposition.




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           7.    Mr. Hogan testified that Mr. Edelmann managed and administered the

College’s Apple environment, designed the Mac server at the College, configured the

Mac environment, and set policies and images, among other generic tasks.

           8.    Yet Mr. Hogan also testified that he did not know how Mr. Edelmann

designed the Mac environment. Attached hereto as Exhibit B is a true and correct excerpt

from the Deposition of Andrew Hogan on June 28, 2018 (“Hogan Dep.”) at 225:10-16;

226:19-23. Mr. Hogan effectively assumed that Mr. Edelmann must have designed the

Mac environment because “it worked.” Hogan Dep. at 225:10-22. But Mr. Hogan also

admitted that Mr. Edelmann was supported by a Mac vendor and that a Mac vendor came

on-site at the College for the installation of the server. Hogan Dep. at 234:8-25; 235:2-8;

236:8-239:25. In fact, the only part of the server installation that Mr. Hogan witnessed

was Mr. Edelmann preparing a rack for the server to sit on. Hogan Dep. at 236:14-25;

237:10-25; 238:2-21.

           9.    Further, the fact remains that even if Mr. Edelmann performed exempt

work on the Mac server and environment, the server did not come into existence until

2012. NB: Mr. Hogan testified that the server was installed in 2011 and Defendant relies

only on this testimony in their Counterstatement. However, Mr. Hogan appears to be

mistaken. Both Mr. Edelmann and Ms. Campbell recalled that the server was installed in

2012 at the earliest, and documentary evidence appears to confirm that the server was not

installed until the fall of 2012. Affidavit of Richard Edelmann, dated January 7, 2019

(“Edelmann Aff”) Docket Number (“Dkt. No.”) 42-4 at ¶ 24; see also attached Exhibit

C, which is a true and correct excerpt of the deposition testimony of Andrea Campbell on

June 29, 2018 (“Campbell Dep.”) at 100:20-14 see also attached Exhibit D, which are



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true and correct copies of Bates Numbered documents demonstrating Mr. Edelmann’s

involvement with the Mac server and Mac vendor, at KEUKA15767, 15768, 17074,

17195-17198, 17200, 17201, 17252, 17288, 17289, 17331, 17338, 17687. Similarly, Mr.

Hogan testified that there were more than 50 Macs at the College in 2010. Yet neither

Mr. Edelmann, Mr. Pierson, nor Ms. Campbell corroborated this. All stated that there

were only a small number of Mac computers at the College in 2010. See Edelmann Aff.

at ¶ 22; Campbell Dep. at 102:22-25; Pierson Dep. at 108:10-22. Therefore, even

assuming arguendo that a significant portion of Mr. Edelmann’s actual duties consisted of

exempt work on the Mac server and environment after the fall of 2012, Mr. Edelmann

was still improperly classified for the first two years of his employment.

           10.    The Defendant has also misconstrued Ms. Campbell’s deposition

testimony regarding the College’s reasoning for adding more Mac computers. Ms.

Campbell did testify that Mr. Edelmann advocated for adding more Macs. But Ms.

Campbell then went on to testify that it was she, not Mr. Edelmann, who advocated for

more Mac funding from the College’s Chief Financial Officer. Campbell Dep. at 104:2-

17. And she did so, not because Mr. Edelmann suggested it, but in order to attract more

students to the College. Id.

           11.    Similarly, Ms. Campbell’s declaration, dated March 7, 2019 (“Campbell

Decl.”) (Dkt. No. 49-2) is misleading. Ms. Campbell stated that Mr. Edelmann had

“domain level access” to the College’s computers, and that this access was only given to

senior personnel. Campbell Decl. ¶¶ 5-6. Here, again, Defendant has attempted to cloud

the waters by obscuring the meaning and inflating the significance of “domain level

access.”



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           12.    In an attempt to clarify these and other terms used by Defendant in its

response papers, Mr. Edelmann is submitting a declaration from Donald Reeve, the

former Chief Information Officer of Wegmans Food Markets, Inc., explaining the

meaning and significance of a number of the general IT terms and phrases used by

Defendants. Attached hereto as Exhibit E is a true and correct copy of Mr. Reeve’s

declaration, dated May 2, 2019 (“Reeve Decl.”).

           13.    Domain level access is more commonly known as administrative rights.

Reeve Decl. ¶ 12. And as explained in both Mr. Reeve’s declaration and Mr. Edelmann’s

declaration, dated May 3, 2019 (“Edelmann Decl.”), most help desk employees possess at

least some level of administrative rights as a prerequisite for performing basic job duties.

Reeve Decl. ¶ 14; Edelmann Decl. ¶¶ 32-34.

           14.    Further, Ms. Campbell’s claims about the manner in which Mr.

Edelmann used this “domain level access” are clearly couched in hypothetical terms. Mr.

Edelmann “could install any programs and make changes to [the College’s] computers,

servers, and networks as he wished.” Campbell Decl. ¶ 5. Ms. Campbell never addresses

whether Mr. Edelmann actually made such changes, much less specify what changes,

exactly, he is alleged to have made. Perhaps this is because Ms. Campbell testified at her

deposition that she observed Mr. Edelmann on only a weekly basis. Campbell Dep. at

102:14-17. Ms. Campbell also uses general phrases, rather than specific terms, when

describing tasks Mr. Edelmann allegedly performed. Campbell Decl. ¶¶ 7-8. As

explained in the Reeve declaration, these general phrases could cover a wide number of

both complex and simple tasks. Reeve Decl. ¶ 18. Accordingly, Ms. Campbell’s

generalized claims do not establish any of Mr. Edelmann’s actual duties.



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           15.    Further, Ms. Campbell’s statements regarding the “elevated” IT help

requests Mr. Edelmann received from the College’s student workers do not support a

finding that Mr. Edelmann was properly classified as an exempt employee. Simply

because student workers possessed an even lower skill level than Mr. Edelmann does not

mean that the “elevated” requests required exempt, complex work.

           16.    In a similar vein, Defendant has implied that Mr. Edelmann’s

involvement with the College’s AV technology was a highly complex, exempt task. Once

again, Mr. Edelmann does not dispute any of the facts—Mr. Edelmann was heavily

involved with the College’s AV technology, he supervised the work-study students who

handled to the College’s AV equipment in later years, and he was a member of the

College’s EMS Core Committee representing the IT Department. Edelmann Aff. ¶¶ 27,

34; Edelmann Decl. ¶¶ 38-42. But once again, Mr. Edelmann is the individual best

positioned to explain, in detail and in layman’s terms, what this involved. And it is clear

from Mr. Edelmann’s descriptions that it did not qualify as complex, exempt work. Id.

           17.    As explained above, both Ms. Campbell’s declaration and testimony

and Mr. Hogan’s testimony are generic, unspecific, and hypothetical. This is further

compounded by the fact that much of their testimony has been selectively cited in

Defendant’s response.

           18.    Mr. Edelmann is the only person who has provided a detailed and

specific picture of his actual job duties, as well as percentages of time spent on each type

of duty, as well as a detailed summation of his overtime hours, which hours Defendant

cannot dispute.




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           19.   Defendant has done their best to use selectively chosen testimony and

generic IT terms to confuse the issue and create a question of fact where none exists. Mr.

Edelmann and Defendant are in agreement regarding the facts. Defendant has relied upon

technological jargon to make it appear as though Mr. Edelmann’s job duties were

complex. But once this jargon is broken down, it is clear that Mr. Edelmann is simply

stating those same facts in layman’s terms. Reeve Decl. ¶ 21.

   B. Mr. Edelmann’s Actual Duties Are Established by Documentary Proof

           20.    During discovery, Defendant produced more than 28,000 documents in

electronic and/or hardcopy form, the majority of which demonstrated Mr. Edelmann’s

actual duties and tasks. Over 27,000 of these documents consisted of email

communications and calendar events taken from Mr. Edelmann’s College email account.

Mr. Edelmann attached a sampling of over 3,000 of these communications to his moving

papers, demonstrating his daily tasks and duties. See Exh. A to the Affidavit of Benjamin

D. Blasland, dated January 7, 2019, Dkt. No. 42-5 and Exh. E to the January 7, 2019

Declaration of Peter J. Glennon (“January Glennon Decl.”), dated January 7, 2019, Dkt.

No. 42-3. One of the College’s 30(b)(6) witnesses, Michelle Polowchak, confirmed that

the College had maintained all these documents in the regular course of business.

Attached hereto as Exhibit F is a true and correct excerpt from the deposition of

Michelle Polowchak on June 29, 2018 (“Polowchak Dep.”) at 66:3-9.

           21.    Although Defendant certainly had access to these same 27,000 plus

communications, Defendant did not offer a single one of these documents to refute Mr.

Edelmann’s submission in its response.




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           22.    In fact, the only documentary evidence cited by Defendant is two

resumes, a narrative Mr. Edelmann created of his work on the Mac environment, the

Senior Technician job description, an email from Timothy Pierson, and an excerpt from

Mr. Edelmann’s interrogatory responses. See Exhibits A, C, D, G, H, I to the March 7,

2019 Declaration of Jeremy M. Sher (“Sher Decl.”), Dkt. No. 49-3.

           23.    Defendant has mistakenly claimed that Mr. Edelmann was CCNA

certified, referencing Mr. Edelmann’s 2010 resume. However, Mr. Edelmann’s resume

indicated that certification was only anticipated, not confirmed. See Exhibit A to the Sher

Decl. And as Mr. Edelmann clarified in his May 3, 2019 declaration, he never actually

obtained a CCNA certification. Edelmann Decl. ¶¶ 43-47. Mr. Edelmann has sufficiently

explained this and the other evidence presented by Defendant

           24.    In the narrative Mr. Edelmann drafted describing his work on the

College’s Mac environment following his termination, Mr. Edelmann clearly indicated

that he had vendor assistance with the Mac environment, and never took sole credit for its

creation. See Exhibit H to the Sher Decl.

           25.   In fact, Defendant’s overstated claims that Mr. Edelmann was the

“architect” of the Mac environment are controverted by Mr. Edelmann’s yearly

evaluations, which always stated that he needed more Mac training. Attached hereto as

Exhibit G is a true and correct copy of Mr. Edelmann’s annual performance evaluations.

           26.   And a number of documents confirm that Mr. Edelmann received

substantial assistance with the Mac environment from an outside vendor, as well as the

fact that Mr. Hogan and another IT Department head, Casey Kendall, actually were

involved in the discussions with the vendor regarding the Mac server. See Exh. A.



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           27.    Finally, Mr. Edelmann does not dispute that he became the College’s

go-to employee for the AV technology. But the vast majority of this AV work still did

not qualify as complex, exempt work. Defendant has made repeated references to the

“classroom upgrades” at the College, yet documentary evidence confirms that, as Mr.

Edelmann stated in his declaration, the College employed at least one outside vendor who

was responsible for any major upgrades. Attached hereto as Exhibit H are true and

correct copies of these documents.

           C. Full Summary Judgment is Requested and Should Be Granted

           28.    Defendant has stated in its response papers that Mr. Edelmann is only

seeking partial summary judgment as to liability. However, this is not accurate.

           29.    Mr. Edelmann is seeking full summary judgment on both liability and

damages. My initial declaration contained an error that stated that Mr. Edelmann

requested only partial summary judgment, but the Memorandum of Law and Notice of

Motion do not contain such a limitation. Indeed, Mr. Edelmann provided a complete and

detailed calculation of his overtime hours, a calculation that Defendant cannot refute

because they failed to keep time records. See Exh. B to the Glennon Decl. at 51:10-54:24.

           30.    To the extent that Defendant has disputed Mr. Edelmann’s calculation

of overtime hours, they have done so only by pointing to Mr. Edelmann’s answers to

Defendant’s interrogatories, dated September 15, 2017. Defendant has inexplicably

concluded that because Mr. Edelmann provided a list a “non-exhaustive” list of specific

dates in 2014 and 2015 when he knew that he had worked overtime, Mr. Edelmann is

now somehow limited to only that list of dates. This completely ignores the multiple

narrative paragraphs that came after this list of dates further explaining Mr. Edelmann’s



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overtime hours, and which begin “Plaintiff further states that the above [list of dates] is

by no means a complete record of all of plaintiff’s overtime hours.” See Exhibit I to the

Sher Decl.

             31.   Mr. Edelmann always clearly stated, in his pleading and in discovery

responses, that the estimated 10 hours of overtime that he worked per week while

employed by the College was just that: an estimate. Mr. Edelmann’s January 7, 2019

affidavit clearly and concisely summarizes all of Mr. Edelmann’s overtime hours, raising

this initial estimate to an average of 20 or more hours per week. Because the Defendant

failed to keep time records, they cannot refute this clear, detailed analysis of Mr.

Edelmann’s overtime hours.

             32.   Defendant also claims that Mr. Edelmann qualified for the

administrative exemption. However, this exemption, when applied to IT employees,

requires high-level, complex responsibilities. See Exh. J to the January Glennon Decl.,

Department of Labor Opinion Letter FLSA 2006-42. Accordingly, as explained above,

Mr. Edelmann could not qualify for this exemption due to his actual duties performed.

             33.   As a final note, the Defendant has agreed that the documents attached to

this Declaration are no longer designated as “Confidential.”

                                      CONCLUSION

             34.   In conclusion, based on the facts presented in this motion, this Court

should find that no material issue of fact exists that Defendant misclassified Mr.

Edelmann as exempt. Plaintiff’s motion should be granted.

Dated: May 3, 2019
       Rochester, New York
                                                               /s/ Peter J. Glennon
                                                                Peter J. Glennon

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